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OEL2002.B-1886-99                                                      the owner of the shares in the company Nielsen ApS in the
SKM2002.313.ØLR                                                        income years in question, that he was also the owner of one share
TfS 2002, 617                                                          in the English company Nielsen (UK) Limited and that
                                                                       Købmandsstandens oplysningsbureau has stated that the remaining
                                                                       shares in the English company were owned by
Eastern High Court judgment of May 24, 2002, j nr. B-1886-99
(District Judges V. Rønne, Plessing and Lone Kerrn-Jespersen
(deputy)).

Gert Rolien Bach Nielsen (Attorney Michael H. Steffensen v/adv.
Jens Ravnkilde)
mod
Skatteministeriet (Ka. v/advokat Martin Henrichsen, sample)

Limitation of tax claims - 1908 Act

  ♦ The case concerns whether payment under a number of
    invoices should be taxed as a disguised distribution to the
    principal shareholder, cf. section 16 A of the Tax Assessment
    Act. The case also concerned whether the tax claims were
    time-barred under the 1908 Limitation Act. The High Court
    found that the tax claim was time-barred
    , as the tax authorities, upon receipt of information from the
    English tax authorities on May 25, 1994, were considered to
    have sufficient basis for asserting a claim, whereas the
    summons was not filed until June 30, 1999. The Ministry
    was not considered to have proved that an agreement was
    made in the fall of 1995 to defer payment of the taxes.


  ♦    The case concerned whether tax claims were time-barred
      under the 1908 Act. The tax authorities had considered a
      principal shareholder to be taxable on a disguised
      distribution for the income years 1989-1991. The High
      Court found that the tax authorities became aware of the
      situation in 1993 and 1994 and could at that time assert
      claims against the principal shareholder. As a summons
      was filed in 1999, the High Court agreed with the main
      shareholder's main claim and considered the tax claims to
      be time-barred under the 1908 Act.
Eastern High Court
In the present action, brought on 30 June 1999, the applicant,
Gert Rolien Bach Nielsen, claims that the defendant, the Ministry
of Taxation, should recognize that the tax claims relating to the
income years 1989, 1990 and 1991 are time-barred; alternatively,
that the assessment of the applicant's income for the income
years 1989, 1990 and 1991 should be reduced to the amount
declared, so that the capital income in 1989 is reduced by DKK
42 855, the capital income in 1990 by DKK 162 775 and
dividend income in 1991 with DKK 133,250.
  The defendant, the Ministry of Taxation, has finally claimed
acquittal.
  On April 13, 1999, the Danish National Tax Tribunal ruled on the
plaintiff's tax assessment for the years 1989, 1990 and 1991. The
ruling and this judgment refer, among other things, to a Danish
company called Nielsen ApS. The company's full name is
Anpartsselskabet Nielsen af 14. september 1984. The company is
also referred to as Nielsens ApS. The ruling of the National Tax
Tribunal is as follows:
  "The case has been negotiated with the complainant and his
lawyer, who has also had the opportunity to speak at a court
hearing.
  It is stated that the complainant, who is resident in England, was
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Nielsen ApS. The English company was owned by Nielsen               done solely to avoid disclosing the relationship to the buyer of
ApS. The English company has subsequently been dissolved            the aircraft and the employees of Danish Air Service ApS. In this
without ever having declared income.                                connection, the lawyer has pointed out that Nielsen ApS, Danish
  It is also stated that the complainant was the director of        Air Service ApS and Nielsen (UK) Limited have subsequently
Nielsen ApS and its subsidiary Danish Air Service ApS, that         been dissolved, which is not possible to verify,
both companies operated from Roskilde Airport within the
aviation industry, including training, brokerage, rental and
consultancy services, and that Danish Air Service ApS also had
authorization for taxi flights, pilot training and aircraft
maintenance. The English company Nielsen (UK) Limited has
been associated with Nielsen ApS and Danish Air Service ApS.
  Finally, it is stated that in mid-1993, the local tax authority
received five control vouchers concerning fee income from two
companies Jetair ApS and Flemming Frandsen Aircraft Sales
ApS, that four vouchers were invoiced by Nielsen (UK) Limited
and one voucher was invoiced by Nielsen ApS, and that on April
7, 1995, the tax authority increased the complainant's income
assessments for 1989, 1990 and 1991 by all the fee income, as
the complainant was deemed to be the correct income recipient.
The income assessments were subsequently reinstated as a
numerical error had been made in the income assessment for
1991. In this connection, it was established that a fee of USD
50,000 had been entered as income in Nielsen ApS, which is
why the complainant's income assessments in the tax
administration's decision of October 7, 1996 were only
increased by the four fees invoiced by Nielsen (UK) Limited.
  In support of the assessments made, the local tax authorities
have stated that they have conducted a thorough investigation of
whether the fees should have been recognized as income in one
or more of the complainant's companies, that the fees cannot be
recognized as income in any of these companies, that the
invoice amounts have been settled from the two companies at
Roskilde Airport, and that all information points to the
complainant as the correct income recipient of the fee income.
  The authorities have emphasized that the complainant, by
having his British company appear as the recipient of the fee
income, has sought to hide the income from the tax authorities,
and that it is by chance that the authorities have come into
possession of information to make correct tax assessments. The
tax assessments appealed have therefore been made in a timely
manner, cf. section 35(3) (now (4)) of the Tax Administration
Act.
  The complainant's lawyer has claimed that the income
assessments for 1989, 1990 and 1991 be reduced to the amount
declared. In support of this, the lawyer has stated that the fees
have not been appropriated by the complainant, but have been
collected by the companies owned by him. The assessments for
the income years 1990 and 1991 are consequently invalid
pursuant to the current provision in section 35(1) of the Tax
Administration Act, as the time limit has not been suspended
pursuant to the current provision in section 35(3) of the Tax
Administration Act.
  The lawyer has further stated that the invoices in question
concern consulting fees in connection with the purchase, sale and
chartering of aircraft, that Jetair ApS and Flemming Frandsen
Aircraft Sales ApS, in connection with the sale of aircraft, have
entered into an agreement with Nielsen ApS and Danish Air
Service ApS to charter the aircraft during the periods when the
buyer could not use the aircraft, and that the buyers have
thereby been able to limit the operating expenses. As
consideration for chartering the aircraft, Nielsen ApS and Danish
Air Service ApS received a fee from the seller for the education
and training of pilots. The invoicing from Nielsen UK Ltd. was
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whether the fees in question have been recognized as income in          Danish companies' bookkeeping. The Danish companies were the
these companies, as the companies' accounting basis is no longer        correct income recipients for the fees, which were invoiced by the
available to the complainant. The lawyer has emphasized that it         shell company in England. The Region has emphasized that
is the authorities who must prove the thesis that the companies         payment with discharging effect could only be made to the
have not received the fees, that the case only concerns the             English company, which was deleted on 21 January 1993, and
assessment of evidence, but that the authorities have not been          that the complainant has put himself in a situation where he cannot
able to establish that the amounts have not been recognized as          document that money has been received
income in the companies, which is why the authorities lack proof
via the accounting records. The British company, which has only
been a kind of straw man, has recognized the fees in question as
income and expensed a corresponding amount, as the fees have
been paid to Nielsen ApS and Danish Air Service ApS. This is
the reason why the UK company's accounts do not show that
there has been any turnover or contribution margin in the years in
question.
  The complainant has further stated that he has not received the
fees in question, which is why the amounts must have been
recorded as income in either Nielsen ApS or Danish Air Service
ApS, that the turnover of the English company does not appear
from the company's accounts prepared as of September 30, 1989
and September 30, 1990, but that the company's auditor issued a
statement to this effect in 1998. The complainant has emphasized
that via Den Danske Bank he has received copies of bank statements
concerning Nielsen ApS and Danish Air Service ApS bank
accounts for the period in question, that at the time of the fee
payments he has searched for some bank deposits, but that the
bank is no longer in possession of supporting documents as these
are shredded after 5 years.
  The attorney has further stated that the fees in question were paid
by checks that can only be cashed by deposit in a bank account, and
that the deposits in Nielsen ApS' and Danish Air Service ApS'
bank accounts document that the amounts have passed through
the companies' accounts and have thus been recognized as
income. The lawyer has pointed out that a check for USD 25,000
issued on March 19, 1990 is included in a deposit in Nielsen
ApS' bank account on March 22, 1990 for a total of
292,319, that a check of DKK 100,000 issued on September 18,
1991 is included in a deposit in Danish Air Service ApS' bank
account on September 24, 1991 totaling DKK 210,932, and that
there is thus a close temporal connection between the payment of
t h e fees and the deposit in the companies' bank accounts.
Finally, the lawyer has stated that when assessing whether the
fees have been recognized as income in the companies, it must be
emphasized that it is now investigating circumstances that lie many
years back in time. The complainant finds it difficult to disprove
the authorities' claim, as the companies in question are bankrupt.
Moreover, the companies were sold by the complainant prior to
their dissolution. Furthermore, the complainant has not been
invited to secure proof of the revenue recognition while it was
still possible to obtain the underlying documentation. Instead, the
authorities had a hidden agenda that the complainant had
committed a criminal offense covered by the Tax Control Act or
the Criminal Code. Thus, the authorities have not
        provided            the complainant the
        necessary           guidance,          and the authorities
have not carried out the necessary investigations.
  ...
  On behalf of the Danish Customs and Tax Agency, the Nærum
Customs and Tax Region has recommended that the assessments
be changed so that the fees are considered a taxable distribution
to the complainant, cf. section 16A(1) of the Danish Assessment
Act. In support of this, the Region has stated that it has not been
established that the fees in question have passed through the
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the Danish companies. The burden of proof is thus on the              section 17A of the Corporation Tax Act, which the Danish
complainant. The authorities can do no more.                          Customs and Tax Administration has agreed with. For the income
 Regarding the region's recommendation, the lawyer has stated         year 1991, a corresponding dividend income is assessed, cf.
that one must distance oneself from the complainant's burden of       section 4a of the Danish Personal Income Tax Act.
proof and that it is only a matter of theories that the companies      ..."
have not received the fees. The complainant finds it difficult to      Supplementary case
disprove the authorities' claim, as the companies in question are      presentation. Fees.
bankrupt.                                                              On June 7, 1993, the tax administration in Gentofte
                                                                      Municipality, where the plaintiff's companies were registered,
The National Tax Tribunal must pronounce:                             received the five invoices referred to in the ruling of the National
 ...                                                                  Tax Court from the tax administration
 The complainant had a dominant influence in the company
Nielsen (UK) Limited, as he directly owned one share in the
company and indirectly owned the remaining shares through the
ownership of Nielsen A/S. However, Nielsen (UK) Limited,
which has not declared any income, has issued 4 invoices to
Jetair ApS and Flemming Frandsen Aircraft Sales ApS, which
had entered into an agreement with Nielsen ApS and Danish Air
Service ApS on chartering aircraft. The invoices allegedly concern
services related to this agreement concluded by two Danish
companies in which the complainant had a dominant influence.
The Court finds that Nielsen ApS and Danish Air Service ApS
must be considered the correct income recipient of the fee
income, as the companies had allegedly entered into an
agreement with Jetair ApS and Flemming Frandsen Aircraft
Sales ApS on chartering aircraft. The company Nielsen (UK)
has thus only been able to invoice by virtue of the complainant's
dominant influence in the companies. As the companies Nielsen
ApS, Danish Air Service ApS and Nielsen (UK) Limited have
been dissolved and the companies' accounts are no longer
available, it cannot be documented that the fees in question have
been recognized as income.
 The complainant has provided copies of bank statements for
Nielsen ApS and Danish Air Service ApS's bank accounts for
the period in question. However, there are no deposits
corresponding to the fee payments in these bank accounts, but
there are some deposits that exceed the fee payments. However,
the bank is no longer in possession of the supporting documents,
which is why the payments cannot be documented as being
included in these amounts.
 The Court finds that it must agree with the Customs and Tax
Administration that the complainant has the burden of proof for
the companies' revenue recognition of the fee payments in
question, as he has not been able to provide any satisfactory
explanation as to why the payments should be made to the
company in England. The complainant has put himself in a
situation where he cannot document that the money has gone to
the Danish companies. As the complainant has not lifted the
burden of proof regarding the Danish companies' revenue
recognition of the fees, the fees must be considered a taxable
distribution to the complainant, cf. the Danish Tax Assessment
Act.
§ Section 16A(1).
 The Court further finds that the assessments for the income
years 1990 and 1991 were validly made, cf. section 35(1) of the
Tax Administration Act, as the time limit must be considered
suspended until the tax authority in 1993 received the four
control vouchers, cf. the current provision in section 35(3) of the
Tax Administration Act. The appealed increases of the
complainant's personal income are reduced to 0, and instead the
complainant's capital income for the income years 1989 and
1990 is increased by corresponding amounts, cf. section 4(1)(4)
of the Personal Income Tax Act, and tax credit hereof, cf.
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in Roskilde Municipality. The invoices were for $6,000, $25,000,             The applicant has obtained a statement from Garners, Chartered
$50,000, $5,000 and DKK 100,000 respectively. The parties                   Accountants, which, in a Danish translation agreed by the parties,
agree that the invoice amounts in $ correspond to DKK 42,855                states
and DKK 162,775 respectively,
286,500 kr. and 33,442 kr.
 The first invoice, for $6,000, was issued on October 30, 1989 to
ApS Jet Air. The invoice stated that it was for fees under an
agreement dated September 20. The invoices were on letterhead
with the following footer: "anpartsselskabet Nielsens, h.a.
clausensvej 24, 2820 gentofte ..." About payment it said:
 "Payment can be made to our address in Roskilde Airport.
Terms of payment: Net cash on receipt of invoice Nielsens (UK)
Ltd. 9 Churchfields, New Road, East Molesey, Surrey, England."
 The second invoice, issued on March 16, 1990 to Flemming
Frandsen Aviation ApS, was for $ 25,000 and concerned
"consulting fee according to agreement". In handwriting was
added "commission OYARV". At the bottom of the invoice,
Nielsen UK Ltd. was listed with an address in England.
 The applicant has produced a copy of a check dated March 19,
1990 for $25,000 payable to Nielsen UK Ltd. in England. The
check was for "consulting fee OY-ARV ... your invoice of march
16 1990". The plaintiff has also produced an arbitration
attachment dated March 22, 1990, according to which
Handelsbanken purchased a check for $25,000 for net proceeds
of DKK 162,586.67. Finally, a bank statement from
Anpartsselskabet Nielsen's bank of September 14, 1984 shows
that on March 22, 1990, DKK 292,319.40 was paid by check.
 The companies involved all had financial years from October 1 to
September 30. The financial statements referred to in the
following have all been provided with the usual auditors' report.
 The accounts for 1989/1990 for Nielsen ApS and the specifications
to the accounts show that the net turnover was approximately
DKK 1.47 million, and that there were sales of goods and
services for DKK 62,738. The other items were administration
fees for a subsidiary, rental of real estate and rental of cars and
computers.
 The accounts of Danish Air Service for 1989/1990 and the
related specifications show that the company's gross profit
amounted to approximately DKK 2.65 million and that net
turnover was approximately DKK 10.3 million. The net turnover
consisted of the following items: School flying and instruction,
theoretical training, aircraft rental and taxiing, aerobatics
, banner and photo flights, sightseeing flights, maitenance,
miscellaneous revenue, bonus, discounts and commissions, fees
and materials for re-invoicing. The item regarding miscellaneous
revenue was
DKK 1,226,207. The item relating to bonuses, discounts and
commissions was negative. Administration costs for the parent
company were calculated at DKK 960,000. According to a note,
miscellaneous revenue consisted of "start-up fees, re-invoicing of
fees, etc. invoiced deductibles, sale of training materials, pilot rental
and various resales, etc."
 In the report on the accounts for 1989/1990 for Nielsens UK
Ltd. it was stated under "Principal activity" that "the company
has not traded during the year". The accounts contained a "balance
sheet" where it was stated under Profit and Loss Account-Deficit
that this was negative by £ 820. The turnover (turn-over) was
indicated in the accounts as "-", and a note stated that "the
company has not traded". The parties have agreed that this
should be translated as "the company has not traded". The accounts
for 1988/1989 for the English company were identical with regard
to the statement of turnover and the statement that there had been
no commercial activity.
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  "We cannot locate our old files for Nielsen UK Limited but can       On February 12, 1993, the applicant notified his removal to an
confirm that abbreviated accounts have been filed with the            address in England with effect from January 1, 1993. The
Companies House, which accounts contained only a copy of the          applicant also entered into an agreement for the letting of his
balance sheet and no details of the company's trading.                condominium for the period January 1, 1993 to January 1, 1996
  If income and expenses offset each other in the relevant period,    to the company Neilor Ltd, 33 Bridge
there would have been no movement in the profit and loss
account from year to year."
  The third invoice, issued on January 31, 1991 to Fl. Frandsen
Aircraft Sales ApS, was for $ 50,000 and concerned "consulting
fee OY-JEY-Citation". According to the invoice, the amount
was payable to ApS Nielsen in Roskilde. The plaintiff has
submitted a copy of a check dated February 6, 1991 for $ 50,000
to ApS Nielsen.
  The fourth invoice was for $5,000 and issued on August 13,
1991 to Jetair att. Flemming Frandsen. It concerned "consulting
fee according to R22 Torben Lindegaard". At the bottom of the
invoice was Nielsens UK Ltd. and a signature. The invoice was
issued on joint letterhead from "nielsens (DK) anpartsselskab"
and "nielsens (UK) limited". The copy of the invoice presented
bears a stamp stating that it was received on August 27, 1991.
  Account statements from Anpartsselskabet Nielsen's bank of
September 14, 1984 show that on August 26, 1991, DKK
134,885.90 was paid in full or in part by check into the
company's account.
  The fifth invoice was for DKK 100,000 and issued on
September 17, 1991 to Jetair Aircraft Sales. It concerned
"consulting fee according to OY-ARV". The invoice had the
same appearance as the fourth invoice. The applicant has
produced a copy of a check for 100,000 to Nielsens (UK) Ltd.
dated September 18, 1991 for "consulting fee according to OY-
ARV".
  Bank statements from Danish Air Service's bank show that on
September 24, 1991, DKK 210,932.15 was paid into the
company's account by check.
  Nielsen ApS' accounts for 1990/1991 show that net turnover
was approximately DKK 2.17 million. The specifications show
that the sale of goods and services amounted to DKK 338,009.
The other items were administration fee subsidiary, rental of
real estate, rental of cars and IT and rental of aircraft. Danish
Air Services' accounts for 1990/1991 show that gross profit was
approximately DKK 2.54 million. The specification shows that
net turnover totaled approximately DKK 13 million and that the
item miscellaneous turnover was DKK 1,258,646. The other
items were school flights and instruction, theory lessons, aircraft
rental, taxi flights etc., sightseeing flights, maintenance,
bonuses, discounts and commissions and fees and equipment for
re-invoicing. The last two items were negative. There was a note
regarding the content of the item miscellaneous revenue. The
note was essentially identical to the note in the previous
financial statements.
  According to the Danish Civil Aviation Authority's nationality
register, the aircraft OY- ARV, to which the invoices of March
16, 1990 and September 17, 1991 referred, was registered with
Mackler Totalbyg as owner on March 12, 1990 and then on
April 1, 1992 with Flemming Frandsen Aircraft Sales ApS as
owner.
  Four declarations of availability have been submitted,
including a declaration dated June 11, 1990, according to which
the owner of OY-ARV placed the aircraft at the disposal of
Danish Air Service ApS for entry into the company's taxi
concession. The other declarations were of the same date and
concerned OY-JEC, OY-JED and OY-JEE respectively.
  IRS investigations.
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Road, Hampton Court, East Molesey, Surrey KT 8 9ER. The lease              obtained information about the two foreign companies as identified
agreement was signed on January 3, 1993.                                   in the pre-printed text at the bottom of the control vouchers
  In October 1993, the tax authorities received information about          received:
Nielsens (UK) Ltd. and Neilor Limited, among others, following a
request to Købmandsstandens Oplysningsbureau. It appeared
from the information concerning Nielsens UK that the applicant
was a director of the company, and the owners were Nielsens
(DK) A/S with 7,999 shares and the applicant with 1 share. The
information relating to Neilor Ltd. showed that the company's
address was Hampton Court, 33 Bridge Road, East Molesey,
Surrey, KT8 9PV and that the company was incorporated on
May 21, 1992. The known director was the Applicant. The
company was owned by the claimant with 999 shares and by the
claimant's father with one share. Danish Air Service, Nielsens DK
A/S and Desmark (UK) Ltd. were listed as associate companies.
  On January 26, 1994, the Tax Directorate in Gentofte
Municipality requested assistance from the Ministry of Taxation,
Customs and Tax Agency, in obtaining a number of information
from abroad. The letter was worded as follows:
  "...
  Background for the request
  During an audit, the Roskilde tax authorities have taken some
control documents concerning fees paid to the company Aps
Nielsen of Sept. 14, 1984, which was taxed in Gentofte
municipality (up to and including the tax year 1992/93). The
company has printed invoices to companies in Roskilde on its
own letterhead with pre-printed logo, telephone number and at
the bottom of this letterhead are pre-printed names of two foreign
affiliated companies, one in England and one in the USA.
  The invoices include typed text on the invoices:
  Nielsens (UK) Limited, 9, Churchfields, New Road, East Molesey,
Surrey KT8 9 PU, England,
  so that one gets the impression that the invoiced fees should go
to this company instead of ApS Nielsen of Sept. 14, 1984. It is
also the case that the specified self-declared turnover in the
Danish company cannot include the fees paid by the companies
in Roskilde.
  The Danish company was declared bankrupt on December 4,
1992. At the same time, the main shareholder ... Gert Rolien
Bach Nielsen moved from Denmark to the same address as stated
above for Nielsens (UK) Limited as of January 1, 1993 according
to the Danish National Register.
  However, it is not possible for the tax authorities to get in touch
with the taxpayer, as mail to the above address is returned with
the text "Gone away, Demenage", which is the English and
French word for moved.
  When the taxpayer moved out, he presented a lease of January 3,
1993, which stated that he had rented out his cooperative
property at Lindegårdsvej 2, 1st floor, 2920 Charlottenlund to an
English company, namely:
  Neilor Ltd, 33 Bridge Road, Hampton Road, Hampton Court,
East Molesey, Surrey KT8 9 ER, England.
  As Gert Rolien Bach Nielsen is still registered in KTAS as a
user of a telephone number at Lindegårdsvej 2, and his name is
still listed next to a push button on the door phone, while mail
cannot be placed at the English address, the region considers it
likely that the taxpayer actually lives at Lindegårdsvej
2. In this connection, it should be noted that it has been stated by the
Merchants' Information Bureau - which will be described in more
detail below
- the taxpayer owns 999/1000 of Neilor Ltd. The remaining 1/1000
is owned by the taxpayer's father.
  Through Købmandstandens Oplysningsbureau, the audit has
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  Nielsens (UK) Limited, 33 Bridge Road, East Molesey, Surrey        and for the subsequent year ended September 30, 1990, but
KT 8 9ER, England, tel. no. and                                      according to the accounts there was no business activity in the
  Nielsens (UT) coporated, ..., USA, phone number and                company during these periods. Copies of the financial statements
  Neilor Ltd, 33 Bridge Road, Hampton Road, Hampton Court,           are attached. It appears that the company had no employees or
East Molesey, Surrey KT8 9 ER, England, according to the             business premises of its own.
lease agreement.
  The former is the same company that probably received the fee
income from the companies in Roskilde, although the address is
stated differently. The address mentioned here is identical to the
address of Neilor Ltd. stated in the lease agreement.
  For your information, we enclose photocopies of the reports
received from Købmandsstandens Oplysningsbureau regarding
the three foreign companies.
  It appears that they are all family limited companies, and that
the two British companies are owned by Gert Rolien Bach
Nielsen and his now bankrupt main limited partnership, and as
mentioned above, an insignificant share is owned by his father.
The US company is owned by Jens Bach Nielsen and Børge
Andersen, which suggests that one owner is related to Gert
Rolien Bach Nielsen.
  ..."
  Gentofte Municipality then specified the requested information
and stated that they wanted to know whether the two companies
had been employed as independent legal entities and whether
they had paid tax to the UK authorities. They also wanted to
know whether they had filed tax returns and accounts, and if so,
they wanted copies of these for all years in which tax
assessments had been made. Finally, it was requested whether the
companies had employed staff and had a place of business, and if
so, details were requested. As far as the claimant personally was
concerned, they wanted to know how he was registered with the
English authorities, both in the population register and for tax
purposes, and for what period he had been registered. They also
requested copies of the information he had provided to the tax
authorities about his residence and income and copies of any tax
returns and information about taxes paid. Finally, an
investigation was requested into his housing conditions in
England, including the type of housing available to him, its
location and ownership.
  In a letter dated February 23, 1994, Customs and Excise
requested the British authorities to obtain the requested
information.
  The request for assistance was answered by the English
authorities by letter dated May 25, 1994. The reply, in a Danish
translation agreed by the parties, was as follows:
  'I refer to your letter of February 23, 1994, in which you
request information concerning the above. I can now make the
following preliminary statement:
  1. Nielsens (UK) Ltd
  This company was incorporated on August 3, 1988 under the
name Loadman Ltd. The name was changed to Nielsen UK Ltd.
on September 28, 1988 and Nielsen UK Ltd on November 2,
1988. On this date the company's registered office address was
also changed to 9
Churchfields, Bach Nielsen had originally announced that this
was his personal address, although his last known personal
address was 186 Fleetside, West Molesey, Surrey KT 8 2NH.
The company's registered office address was subsequently
changed to 233 Bridge Road,           which is the business
address of the company Neilor Ltd.
section 2 below.
  Nielsens UK Ltd has only filed accounts with the UK
authorities for the period August 3, 1988 to September 30, 1989,
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  As there has been no business activity, the company has not          Nielsen of September 14, 1984,
been subject to UK corporation tax. It was deleted from the
corporation tax register on January 12, 1993.
  In addition to this information from our files, I can provide the
following information from the Company Register, which is
publicly available:
  (a) Bach Nielsen was appointed sole director of the company
        on September 23, 1988. His address was originally given as
        HA Clausensvej 27, 2820 Gentofte, Denmark, but was later
        given as Jaegenborg-Alle 27A, 4th floor, 2920
        Charlottenlund, Denmark.
  (b) Bach Nielsen is listed as the owner of one of the 8,000
        issued shares of GBP 1.00 each in the company, and the rest
        are owned by Nielsens (Denmark) A/S, also with the
        address HA Clausensvej 27.
  ...
  3. Gert Rolien Bach Nielsen
  As indicated in my letter of February 24, 1994, Mr. Bach
Nielsen has stated that he arrived in the UK on January 1, 1993
and will be regarded as resident in the UK and liable to pay UK
tax from that date. Further enquiries will be made as to his
ownership of UK property and this information, together with a
copy of his first completed UK tax return, will be forwarded as
soon as possible after it becomes available.
  ..."
  In the letter, the British authorities had also provided a number
of information about Neilor Ltd. and stated that they would
provide additional information in the form of accounts and
information about the nature and ownership of the address from
which the company operated, as well as the number of
employees in the company.
  By letter dated January 8, 1995, the English authorities sent the
final statement. The letter, in a Danish translation agreed by the
parties, reads as follows:
  "I refer to your letter of February 23, 1994, in which you request
information concerning the above and my preliminary statement of
May 25, 1994. I am now in a position to make a final statement.
  Information has now been obtained from the Land Registry
regarding the 3 addresses that Nielsen can be linked to. However,
he is not registered as the current owner of any of these
properties, nor is this the case with the English companies in
which he is a director.
  The information does not contain descriptions of the properties or
their size. However, it is clear that the property at 33 Bridge
Road is on 3 floors, of which the top 2 are self-contained
apartments.
  ...
  Regarding the company Neilor Limited, we have now been
informed that all business activities have ceased and there are no
assets. The company did not file any financial statements and we
have therefore not received any information about employees.
Under these circumstances, it is not possible to investigate this
further at this time.
  ..."
  Tax assessment and deferral issues.
  On January 17, 1995, Gentofte Municipality sent a letter to the
plaintiff's English address stating that, on the basis of the five
invoices concerning consultancy fees, they intended to increase
his tax assessment for the years 1989-1991 to a specified extent.
  The Tax Directorate in Gentofte Municipality has prepared a
preliminary audit report dated March 8, 1995 with a review of the
plaintiff's income and assets as well as his place of residence. The
audit report also contained a review of the companies ApS
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Danish Air Service af 2/6 87 ApS and foreign subsidiaries,              - is related to the other income years/CB"
including Nielsens (UK) Limited, Nielsens (UT) Corporated,                September 25, 1995
Neilor Ltd. England and Neilor ApS.                                       "Rev. Dan Malmstrøm inf that there is no legal basis for granting
  The applicant's tax assessment for 1989-1991 was increased by         a deferral based on the cases mentioned in the assessment - it
Gentofte Municipality's letter of April 7, 1995 in accordance
with the letter of January 17, 1995.
  On June 26, 1995, the plaintiff contacted Gentofte
Municipality's tax department by telephone, stating that his
former spouse had only now made him aware of the letter of
January 17, 1995, and the decision of April 7, 1995, which is why
he had not previously had the opportunity to object to the
increases.
  Following correspondence between the parties, a meeting was
held on July 19, 1995 with the participation of the applicant and
his accountant, Dan Malmstrøm.
  On the same day, the auditor wrote to the Directorate of Taxes:
  "I hereby confirm that the tax return for 1992 is expected to be
filed within one month and that I will keep you informed of the
progress within 14 days.
  I must also confirm that it is my opinion that the changes for 1989
- 1993 are not correct, which is why, on behalf of my client, I
must request a deferral of payment of these amounts until the
matter is finally clarified. You will also be kept informed of this
matter on an ongoing basis."
  On July 24, 1995, the Tax Directorate's Collection Office
replied to the letter as follows:
  "The Collection Office has received your letter of July 19, 1995,
in which you, on behalf of your client, among other things,
request a deferral of payment of nominal claims for the income
years 1989-1993.
  Your request can be answered when the tax return for 1992
together with your corrections for the years 1989-1993 have
been submitted.
  ..."
  Furthermore, a number of the debt collection office's notes or
screen prints concerning, among other things, the issue of deferral
have been submitted. These include the following memos.
  4. August 1995
  "rev here by phone. SA/92 and information regarding 93/94
(tax plan in this country not settled) and complaint regarding the
increases 89-91 is submitted in week 33, a decision is then made
on the deferral request and payment is agreed"
  August 22, 1995
  "Copy of complaints regarding 89-91 and SA 92 received -
talked to Gitte Thuesen in Bodils absence, what influence will
the submitted material have on the arrears, must be used to
assess a payment deferral request. Await message from 3rd
equation"
  August 28, 1995
  "complaint about tax for 92 is handled by group A"
  September 11, 1995
  Bodil inf that the previous increases will be reduced so that
there is a total increase of approx. DKK 200,000.00 - being
treated as a reopening case, therefore currently no possibility of
"deferment" in case of appeal - agreed I will direct referral to
Rev./CB"
  ...
  B.B.H. in the equation unsuccessfully applied for - has
deferment been granted regarding 92 ???? /CB"
  September 12, 1995
  "no deferral has been granted - this is not an actual complaint
and there is no prospect of the recruitments for 92 and onwards
being processed quickly
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The only thing that can be agreed from here is a payment                On August 18, 1995, the applicant's accountant wrote to the
deferral, but the undersigned. will only currently accommodate        municipal tax department regarding the invoice of January 31,
that there is no forced collection and on the condition that from     1991 for 50,000
011095 the arrears are settled, agreed at DKK 5,000.00 / month.       $:
/CB"                                                                    "As agreed at our meeting, we hereby submit further
 5. October 1995                                                      documentation regarding the recognition of USD 50,000 in
 "CPR AGREEMENT DELETED...                                            Anpartsselskabet Nielsen af 14. september 1984 ApS in the
 OO 1156614,00 30000,00 6 4 9 05.03.1996 CREATED"                     financial year 1990/91.
 The plaintiff paid DKK 5,000 on October 3, 1995.                       ...
                                                                        In the financial statements, the commission is included in the
                                                                      item "Sales of goods and services", DKK 338,009. This amount
                                                                      appears as follows:
                              Commission on aircraft sales                                       302.106
                              Account 120                                                           1.230
                              Account 121                                                          34.235
                              Account 113                                                             438
                                                                                                 338.009

..."                                                                  In principle, the cost of further training was to be paid by the
  Furthermore, the auditor had a number of comments regarding         individual, but in order to get the best possible employees, it was
the plaintiff's place of residence.                                   negotiated with the operator whether - and if so, to what extent -
  By letter dated October 7, 1996, the Municipality of Gentofte,      the operator should participate in the cost.
Economic and Tax Administration, announced that it had changed
the plaintiff's tax assessment for 1991 with regard to overpaid
consultancy fees. The assessment was thus reduced by DKK
286,750 in respect of the invoice of January 31, 1991 for $50,000
and by
545,000 regarding the invoice of September 17, 1991, which was for
DKK 100,000 and not $100,000.
  The Tax Appeals Board upheld the administration's decision in
the case on September 18, 1997.
  Explanations.
  During the court hearing, the plaintiff, Ulla Britta Brasen, Dan
Malmstrøm, Niels Martin Nikolaj Victor and Carsten Bøje gave
evidence.
  The applicant has explained that in 1987 he founded a flying
club and together with the five members of the flying club
founded Danish Air Service ApS. Over the course of a few years,
he took over the shares of the other shareholders. The company,
which initially rented premises at Tune Airport, later acquired its
own buildings in Tune. The company operated in three business
areas and had a Flight Academy (a flight school), a maintenance
department and a department that dealt with executive flights, taxi
flights, sightseeing flights, etc. In this connection, the company
had a contract with the Ministry of the Environment for
monitoring oil spills. In 1991/92, when the company was at its
peak, it had a concession for 35 aircraft. The company was not
the owner of these aircraft but had an operator license for the
aircraft. An operator's license has two parts: a concession holder,
which can be a person or a company, and a concession holder,
which is an individual. The aircraft operator is assigned a pilot
who can fly the aircraft and is responsible to the aviation
authorities. There were approximately 50 people associated with
the company. These self-employed people were pilots,
instructors and technical staff, which mainly means aircraft
mechanics. There were two to three actual employees in Danish
Air Service. They dealt with the administration. The basis of the
company was the cooperation with the associated pilots and
technicians. When a pilot has to fly a new type of aircraft, he or
she must have type training for that aircraft. Type training costs
50,000 Danish kroner.
DKK 75,000 for a pilot and DKK 25,000-50,000 for a mechanic.
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  Aircraft buyers often want to deal with an operator that has
pilots and trained technicians as well as the necessary licenses to
fly the aircraft. The buyer also has an interest in the aircraft
being utilized, as it also costs money to keep the aircraft on the
ground. The seller of an aircraft offers not only the aircraft but
also an operator. On average, the seller can expect a better price
when an attractive operator can be offered. It is common
knowledge in the industry that the seller pays a fee/commission
to the operator and thus pays part of the costs of training the
pilots. The aircraft buyer pays an annual fee and an amount per
hour the aircraft is in use to the operator. When discussing
training with a pilot, the pilot will have an interest in getting the
company to pay as much as possible, while the company will
want to do it as cheaply as possible. If the pilots and technicians
knew that a seller of an aircraft paid commission to the
company as operator of the aircraft, they would be in a better
position when negotiating with Danish Air Service about
payment for the training. It was important that the invoices were
issued through Nielsen UK or Nielsen DK, as it should not
appear that it had anything to do with Danish Air Service. The
office was an open club environment. The pilots and technicians
had their daily routine in the office, as the operations manuals
were centrally located in the office. It didn't cost anything to
have the invoices issued by the British company. The
commissions went into the daily operations. Five commission
invoices were issued to the Flemming Frandsen Group. Jetair
Aircraft Sales was owned by Flemming Frandsen, who is one of
the largest aircraft salesmen in the Nordic region. No such
invoices have been issued to others.
  The invoice dated October 30, 1989 concerns three training
aircraft OY-JEC, OY-JED and OY-JEE. The planes were
purchased by Kræn Hjortlund. The invoice must have been paid
with a check, as none of the fees in question were paid in cash.
He is not aware whether the check relating to this invoice has
been deposited in Danish Air Services' or Nielsen DK's account,
and he is not aware whether the accounting stamp on the two
invoices comes from one of his companies.
  The invoice dated March 16, 1990 concerns the sale of an
aircraft to Mäckler. He is not the one who handwrote on this
invoice that it concerns OY-ARV. When the check for $ 25,000
regarding this invoice was deposited in the bank, it was
deposited together with other checks, which is why the deposit
of DKK 292,319.40 is larger than the check amount of DKK
162,586.67.
  The OY-ARV was a more advanced aircraft than Danish Air
Service usually operated. They were not already the operator of
the aircraft. The invoice of August 13, 1991 concerned a
Radisson 22 helicopter. It was not an operator agreement, but an




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maintenance agreement, and a man was sent to the US to get the          large number of entries.
necessary training to maintain the helicopter.
  The invoice dated September 17, 1991 concerned an aircraft - a
PA40 - that was sold to Claus Hecht Johansen. The invoice did
not mention OY-ARV, but Flemming Frandsen wanted this
aircraft to be stated on the invoice.
  Danish Air Service ran into financial difficulties in 1991/92 and
the activities were sold to the new owners of Jetair on January 1,
1994. He moved to England on January 1, 1993 and has lived at
three different addresses in England. Since April 1, 1994, he has
lived at the same address in London, whereas he has not lived at
Lindegårdsvej, which was rented out. In May or June 1995 he
heard about the change in tax assessment via his former spouse.
He has not agreed an installment plan with the tax authorities and
has not received a letter of deferment.
  Among other things, Ulla Britta Brasen has explained that in
1987 she became affiliated with Danish Air Service ApS and
Nielsen DK on a casual basis. She was later employed and
resigned in August 1990. Her task was to do the bookkeeping for
the Danish companies that had the same physical locations. The
bookkeeping was done separately in the two Danish companies.
When the Danish companies received a check, she deposited it in
the bank. It was she who wrote the invoice of October 30, 1989
and probably she who wrote the invoice of March 16, 1990. She
has written two such invoices. She may be the one who stamped
the invoices with the bookkeeping stamp, but she is not the one
who stamped the second one with the date of receipt. She does
not know why the payment had to be made to the English
company. It was not usual for her to print invoices for the UK
subsidiary, which was fairly new. She does not recall seeing
checks for the amounts invoiced by the UK company.
  Dan Malmstrøm has, among other things, explained that he has
been an auditor for the plaintiff since 1987. He was also elected as
auditor for Nielsen ApS and Danish Air Service ApS. After the
plaintiff moved to England in 1993, he had regular contact with
him via cell phone. The companies' tax returns for 1989-1991
were submitted on time. In connection with the submission of
these, he made a remark that questions in connection with these
could be directed to him. The applicant's 1992 tax return was
submitted in July or August 1995. The applicant has not filed a
tax return for 1993. The tax authorities, assuming that the
applicant was liable to tax in Denmark, made an assessment of
the applicant's income for 1993, which was reversed in 2001. He
has not received a final reply to his letter of July 19, 1995
concerning deferment of payment due to the changes made by
the tax authorities concerning 1989-1993, but he has spoken to
Carsten Bøje about an installment arrangement. He only had
authority from the claimant to enter into an installment agreement
for 1992 but not for the other years, as the claimant did not
believe he owed anything for these. The residual tax for 1992
was approx.
DKK 40,000. The scheme was intended to run until the
remaining tax for 1992 had been paid. He does not know why
only one installment was paid, and he does not remember
whether the tax authorities contacted him in this connection.
  Regarding the invoice of March 16, 1991 for $25,000, one must
not only look at the accounts of Nielsen ApS but also at the accounts
of Danish Air Service. The income may have been recognized by
mistake in Danish Air Service and therefore included in the
turnover of this company. If the parent company received an
amount due to the subsidiary, it would be recorded in the
suspense account. The suspense account in the 1989/90 accounts
for the parent company, which is DKK 585,000, may contain a
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  The January 31, 1991 invoice for $50,000 was included in the      were ongoing. It was assumed that it would take 6 months to
1990/91 accounts for Nielsen ApS under sales of goods and           process the complaints. The agreement was not confirmed in
services. He does not remember what accounts 120, 121 and           writing. There was no doubt about the content of the agreement.
113, which he referred to in his letter of August 18, 1995,         Now agreements on installment agreements are confirmed in
related to, but they did not relate to commissions on the sale of   writing, but it was not customary at the time.
aircraft. In the accounts for Nielsen ApS 1989/90, aircraft
commissions were included under sales of goods and services or
under a separate item. The other income items in the accounts
are so specific that it would be misleading if such income were
included under them. He has audited the accounts, including
checking the accounting records. He remembers the $50,000
invoice because it was so large. He only saw the other invoices
during the case.
  Niels Martin Nikolaj Victor has explained that from 1989 he was
employed for three to four years at Danish Air Service as
Operations Manager. The General Agency industry, to which
Danish Air Service belonged, is a special part of the aviation
industry. Among other things, he was involved in managing the
aircraft fleet and booking aircraft. The position was a
management position with a fixed salary. It was normal that a
fee was paid to the operator. He is not aware whether the
commission was due to the operator being involved in the sale
or whether it was due to the fact that he became an operator. He
has no knowledge of the individual invoices or the bookkeeping
thereof, but he has had general knowledge that commission was
paid in connection with the operation of aircraft. Nor was he
aware that the invoices were issued via an English company. The
associated pilots and instructors were self-employed and, at
least initially, had jobs with other companies. They were also
often customers of the companies and attended flight school.
The pilots typically had to pay for their type training
themselves, but there was a dialog with the pilots about whether
the amounts they had to pay were reasonable in relation to the
income. The associated pilots and technicians were not
informed of the commissions, which he found very natural. He
has no knowledge of whether this approach is commonly used.
There were many young pilots who could not earn such a high
salary and who had debts related to their education. If they knew
about the commissions, they would demand higher fees.
  Carsten Bøje has explained, among other things, that he is a
mortgage officer in Gentofte Municipality. The screen prints
presented during the case are the debt collection office's notes
regarding case processing steps. Every debtor agreement is
noted in the electronic calendar. Carsten Bøje has explained
about the screen prints presented:
  Re September 11, 1995: No tax deferral could be granted, but
the collection office could grant a payment deferral. A
deferment of assessment results in a waiver of collection of the
arrears while a timely filed complaint is being processed. When
an installment payment agreement in connection with a
forbearance agreement is not met, the debt collection process
starts again.
  Re September 12, 1995: The accounts for 1992 had not been
submitted on time. When the accounts were received, they were
regarded as a request for reopening and therefore no tax deferral
could be granted.
  Re September 25, 1995: He stated that no tax deferral could be
granted, but that a payment deferral could be granted. He
assessed that compulsory collection could be avoided on
condition that installments of DKK 5,000 were paid. Such an
agreement was securely entered into with accountant
Malmstrøm regarding the entire arrears for 1989 to 1991 of
DKK 1,156,614. The agreement was to run as long as the cases
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 Re October 5, 1995: The agreement was reported in the system.          has submitted statements of his personal bank accounts showing
Agreements are reported for approximately six months, unless            that the amounts have not been deposited there,
the entire balance can be repaid within a shorter period. The
amount of 30,000 represents 6 months installments. "9" indicates
that the agreement concerns all debtor relationships and "4"
indicates that the installments must be paid monthly. The code
"reminder amount" is inserted as the installment was not paid. He
did not contact Malmstrøm in connection with the payment
agreement being breached. Of the DKK 5,000 installment, DKK
100 was deducted for payment of the land registry certificate,
which the debt collection office had requested. The rest was used
to pay the outstanding tax for 1989. The DKK 200,000 was the
estimated increase in the assessment for all the tax years under
consideration.

Procedure.
  The parties have essentially proceeded in accordance with their
pleadings.
  In support of the main claim, the applicant has thus argued that
any tax claim is time-barred under the 1908 Act. The
commencement date of the limitation period is the date on which
the residual tax for the individual tax years is due. The limitation
period must therefore be calculated from September 1, October 1
and November 1 of the year following the tax year in question.
The limitation period can begin to run at the latest from the time
when the tax authorities came into possession of the invoices in
question, which occurred on June 7, 1993. The limitation period
therefore began to run at the latest on June 7, 1998. At this point
in time, the tax authorities could have made an adjustment and
recovered the claim. Any attachment proceedings would have
interrupted the limitation period.
  The limitation period runs regardless of whether the tax claim
has been assessed and calculated and is not suspended while the
tax authorities attempt to obtain further information. Whether the
invoices were taxed in England is irrelevant to the Danish tax
case. The latest time any suspension was lifted was May 25,
1994, when the Inland Revenue received accounts relating to the
UK company. The final answer from January 8, 1995 is irrelevant
to this case. Any tax claims are thus time-barred at the latest on
May 25, 1999.
  The applicant further submits,
  that the limitation period is not interrupted by the taxpayer
issuing a summons for judicial review of the assessment,
  that the mere request for deferral does not have the effect of
acknowledging the debt when, as in the present case, an
administrative appeal against the assessment is pending at the
same time,
  that a grace period has not been granted,
  that the installment scheme concerns a tax arrears for 1992 and is
therefore irrelevant to the case.
  alternatively, that the deferral arrangement has been breached
by the plaintiff and therefore lapsed automatically or by implied
agreement, with the consequence that the arrangement has only
suspended the limitation period for a few months.
  In support of the alternative claim, the applicant submits that the
fees were not appropriated by the applicant, but were collected by
the companies Nielsen ApS and Danish Air Service ApS, which
it owns. In support thereof, the applicant has in particular stated,
  that the tax authorities always have the burden of proof that a
given income is taxable,
  that the fees in question were paid by checks that can only be
cashed by depositing them in a bank account,
  that in connection with the National Tax Court case, the claimant
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  that the deposit in the companies' bank accounts shows that the
amounts have passed through the companies' accounts and have
thus been recognized as income,
  that, in view of the above, the tax authorities have not met the
burden of proof that the fees have not been recognized as
income in the companies,
  and that in the assessment of the evidence it must in any event
be weighted in favor of the plaintiff that matters are now being
investigated which, due to the tax authorities' circumstances, are
many years in the past.
  With regard to Nielsen UK, the plaintiff has stated that,
according to English accounting practice, no turnover is
disclosed in the accounts, but only that there has been no
contribution margin.
  The applicant further submits that the tax authorities'
correction of the tax returns is time-barred. In support of this, it
is stated,
  that the applicant's tax returns for 1989-1991 were correct and
complete,
  that the tax authorities were not in ignorance of the claims,
since the alleged fact that the invoices in question did not arrive
until June 7, 1993 is due solely to the tax authorities' error,
  and that the letter of intent of January 17, 1995 therefore
arrived too late. In addition, the applicant claims that the
defendant has the burden of proof for all matters relevant to the
case. In support thereof, the plaintiff states that the tax authorities
had been in possession of the invoices in question since the tax
returns were filed, but allegedly only discovered them during an
"audit" on June 7, 1993. It was not until 13 months later that the
tax authorities sought to obtain information from HMRC and it
was not until January 17, 1995 that the defendant sent a letter of
formal notice giving the plaintiff the opportunity to secure
evidence. As a result of this negligence, evidence and
opportunities for evidence may well have been lost.
  During the proceedings, the applicant argued that the lines
under turnover in the English company's accounts do not indicate
that the turnover was DKK 0, but are an indication that the figures
are kept secret for commercial reasons.
  The defendant has countered the plaintiff's main claim for
limitation by arguing that the tax claims relating to the income
years 1989 - 1991 are not time-barred under the 1908 Act.
  The defendant has stated that it agrees that the starting point
for the limitation period for residual tax claims is calculated
from the due date. However, in this case, the defendant had no
knowledge of the claims at that time.
  The tax authorities were not in a position to determine whether
or not the tax authorities had a claim against the claimant at the
time the fee vouchers appeared on June 7, 1993.
  The tax authorities have therefore attempted to contact the
claimant at the address given by him in England in order to
clarify the circumstances surrounding the fee vouchers, but
without succeeding in contacting the claimant before June 27,
1995. On February 23, 1994, as part of the investigation of the
facts surrounding the fee vouchers, the tax authorities contacted
the English tax authorities in order to obtain a number of
information about the applicant and his companies. The British
tax authorities' final reply was received on January 8, 1995. On
the basis of the investigations carried out and the reply from the
English tax authorities, on January 17, 1995, the tax
administration in Gentofte issued a notice of intention to
increase the plaintiff's taxable income for the income years
1989-1991. The defendant argues that the tax authorities, as a
result of unaccountable ignorance before that date
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was not able to settle his claim at that time, which is why the           which aircraft it concerned is not correct.
limitation period under the 1908 Act can be considered to run
from that time at the earliest.
  On July 19, 1995, the plaintiff contacted the tax authorities and
requested a deferment of payment of the increases made until the
matter was finally resolved. On September 25, 1995, an
agreement was entered into on the condition that the claimant
repaid the outstanding tax claim by DKK 5,000 monthly from
October 1, 1995. The applicant paid
6. October 1995, DKK 5,000 in installments, after which the
plaintiff has not paid any more installments. As the plaintiff and the
defendant had entered into an agreement to defer payment of the tax
amounts in question, this agreement had the effect that the
limitation period was interrupted and only began to run from the
end of the deferment, cf. U 1930.68 H and U 1989.1064 H. The
grace period ended on November 1, 1995 at the earliest, and a new
5-year limitation period must therefore be calculated from this
date at the earliest.
  The defendant has furthermore claimed that the plaintiff's action
by writ of summons on June 29, 1999 is suitable to clarify the
claim, which is why legal action has been taken pursuant to
section 2 of the 1908 Act before the expiry of the limitation
period under section 1 of the Act, see TfS 1990.120 Ø and
2001.171 Ø.
  With regard to the plaintiff's alternative claim, the defendant
submits that, in the income years 1989 - 1991, the plaintiff, as a
result of its 100 % ownership of Nielsens ApS and thus 100 %
ownership of Danish Air Service ApS and Nielsen (UK) Ltd. and
by virtue of its position as director of Nielsens ApS and Danish
Air Service ApS, had a dominant influence on which of the
companies should issue the invoices at issue in the case.
  The applicant has failed to provide an intelligible and substantiated
explanation as to why Nielsens (UK) Ltd. was involved in the
arrangement.
  Despite the defendant's requests to the plaintiff to explain by name
to whom the invoices in question should be kept secret, the
plaintiff has not provided this information. The failure to comply
with the request must be attributed procedural prejudice pursuant
to section 344(2) of the Danish Administration of Justice Act,
with the consequence that it must be considered undocumented
that there was a commercial purpose for the involvement of
Nielsens (UK) Ltd. in the invoicing of the fee amounts.
  With reference to the unusual circumstances surrounding
invoicing via Nielsens (UK) Ltd. and in view of the plaintiff's
dominant influence by virtue of its 100% ownership of the
companies and its position as director of the Danish companies,
the defendant has argued that the burden of proof that the fee
amounts in question have been taxed in Nielsens ApS or Danish
Air Service ApS lies with the plaintiff, just as it lies with the
plaintiff to ensure that the accounting conditions in the
companies are in order, see UfR 1998.1538H .
  The defendant has also claimed that it is undocumented that the
fees have been recognized as income in Nielsens ApS or Danish
Air Service ApS. The presented check vouchers/bank account
statements do not constitute documentation that the fees have
passed through Nielsens ApS' or Danish Air Service ApS'
bookkeeping, nor that the amounts have been recognized as
income in one of the two companies. In addition, the plaintiff's
information that the payment regarding the invoice of August 13,
1991 was received in the bank on
August 26, 1991 cannot be correct, as the invoice was not
stamped received by Jet Air until August 27, 1991. Furthermore,
the information in the invoice of September 17, 1991 about
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 As there is no documentation that the fees have been recognized
as income in Nielsens ApS or Danish Air Service ApS as the
correct income recipient, and as the claimant was the sole
shareholder in the group, the amounts must be taxed to the
claimant as a masked distribution, cf. section 16 A of the Tax
Assessment Act.
 In relation to the plaintiff's alternative claim, the defendant
further argued that the original tax assessments for the income
years 1990 and 1991 were made on an incorrect or incomplete
basis as a result of at least gross negligence on the part of the
plaintiff. The three-year extension period in section 35(1) of the
Tax Administration Act was suspended pursuant to section 35(3)
at least until the time when the tax administration came into
possession of the invoices. The tax authorities' increase of the
applicant's taxable income for the income years 1990 - 1991 by
decision of April 7, 1995 is therefore not invalid, cf. section
35(1) of the Tax Administration Act, cf. section 35(3). The tax
authorities' decision of October 7, 1996 was a reduction of the
applicant's taxable income and is therefore not covered by the
wording of section 35. Furthermore, the decision is within the
scope of the increase in income announced in the letter of
formal notice of January 17, 1995, as only a reduction in
amount is made. The limitation period in section 35 of the
Danish Tax Administration Act was interrupted in relation to the
subsequent reduction on October 7, 1996 by the decision of April
7, 1995. The rule in section 35(1) of the Tax Administration Act
has no effect for 1989.
 If the claimant has been placed in a difficult situation in terms
of proof despite the fact that the income years 1989-1990 and
1990-1991 were covered by the 5-year accounting retention
obligation at the time of the letter of 17 January 1995, this is not
due to the authority's conduct but rather due to the claimant's
unusual invoicing constructions via the subsidiary in England.
 The defendant has objected to the admissibility of the plaintiff's
plea concerning the significance of the line marking in the
English accounts, which was not raised until the proceedings.

The High Court's comments.
  The tax authorities did not become aware of the invoices in
question until June 7, 1993, after which relevant investigations
were carried out by obtaining information about the companies
in question, including contacting the British authorities in order
to determine whether there was a possible claim for residual tax.
  When the defendant received the English authorities' reply of
May 25, 1994, including the accounts of the English company
and the information that it had been struck off the register of
companies on
On January 12, 1993, the defendant obtained sufficient grounds to
bring a claim against the plaintiff. The defendant is found to
have been in excusable ignorance of the tax claims until the UK
authorities' reply of May 25, 1994 was received. The fact that
this was a preliminary report from the English authorities cannot
lead to any other result, since the information which the English
authorities stated that they would provide later, and which was
provided in the English authorities' letter of January 8, 1995,
related only to matters which had no bearing on the tax on the
five invoices.
  The defendant has not proved against the plaintiff's and Dan
Malmstrøm's testimony that in the fall of 1995 an agreement was
entered into regarding deferral of the disputed tax claims.
  As the summons was filed on June 30, 1999, the tax claims are
now time-barred. The applicant's main claim is therefore upheld.


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For it is known to be right:
The defendant, the Ministry of Taxation, shall recognize that the
tax claims against the plaintiff, Gert Rolien Bach Nielsen,
regarding the income years 1989, 1990 and 1991 are time-barred.
 The defendant will pay DKK 21,000 in legal costs to the
plaintiff within 14 days.




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